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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                        _______________________________________

UNITED STATES OF AMERICA                     §
                                             §
v.                                           § No. 3:12-CR-003-P
                                             § ECF
SAMUEL GEORGE HURD, III (01)                 §

                              GOVERNMENT'S EXHIBIT LIST

         The United States of America submits its list of exhibits for trial of this action:




                                                                                             Refused

                                                                                                       Reserved

                                                                                                                  Withdrawn
                                                                                  Admitted
                                                                        Offered
 No.                 Exhibits Marked for Identification


1        Photograph - Sam Hurd
2        Photograph - Toby Lujan
3        Photograph - Tyrone Chavful
4        Photograph - V.G.
5        Photograph - W.G.
6        Photograph - E.N.
7        Photograph - J.C.
8        Photograph - motel room entrance
9        Photograph - V.G. sitting in chair with Ipad
10       Photograph - Ipad seized from motel room
11       Photograph - marijuana found in motel room
12       Photograph - tv console
13       Photograph - marijuana residue on tv console
14       Photograph - motel room from back bedroom to front
15       Photograph - W.G.’s shorts with cocaine
16       Photograph - W.G.’s shorts with cocaine
17       Photograph - V.G. bag from cabinet
18       Photograph - money in sock
19       Photograph - money from sock
20       Photograph - weapon from V.G. bag


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                                                                                     Refused



                                                                                                          Withdrawn
                                                                                               Reserved
                                                                          Admitted
                                                                Offered
 No.                 Exhibits Marked for Identification


21       Photograph - open drawer in cabinet with money and
         ID
22       Photograph - V.G. ID
23       Photograph - money from drawer separated
24       Photograph - Malibu rental car
25       Photograph - Malibu floorboard with marijuana
26       Note seized from Malibu with Hurd address
27       Photograph - evidence bag with telephone seized from
         V.G.
28       Photograph - Iphone 4 seized from V.G.
29       Photograph - from V.G. telephone of marijuana
30       Photograph - from V.G. telephone of marijuana
31       Photograph - from V.G. telephone of box addressed to
         D.W., XXX Cassion Dr., Lewisville, Texas
32       Photograph - from V.G. telephone of delivery
         confirmation results to Lewisville, Texas 75067
33       Video - marijuana grow from V.G. telephone; video
         img 0024
34       Text messages downloaded from V.G. telephone
35       Chronological text messages from V.G. telephone to
         Hurd telephone
36       Audio file from V.G. telephone, 142.amr
37       Transcript of 142.amr
38       Audio file from V.G. telephone, 182.amr
39       Transcript of 182.amr
40       Audio file from V.G. telephone, 183.amr
41       Transcript of 183.amr
42       Audio file from V.G. telephone, 184.amr
43       Transcript of 184.amr
44       Audio file from V.G. telephone, 188.amr
45       Transcript of 188.amr
46       Audio file from V.G. telephone, 190.amr
47       Transcript of 190.amr
48       Audio file from V.G. telephone, 191.amr
49       Transcript of 191.amr

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                                                                                     Refused



                                                                                                          Withdrawn
                                                                                               Reserved
                                                                          Admitted
                                                                Offered
 No.                 Exhibits Marked for Identification


50       Audio file from V.G. telephone, 192.amr
51       Transcript of 192.amr
52       Audio file from V.G. telephone, 212.amr
53       Transcript of 212.amr
54       Audio file from V.G. telephone, 282.amr
55       Transcript of 282.amr
56       Audio file from V.G. telephone, 285.amr
57       Transcript of 285.amr
58       Photograph - Iphone 3 seized from W.G.
59       Photograph - Iphone 3 seized from W.G.
60       Text messages downloaded from W.G.’s telephone
61       Chronological text messages from W.G.’s telephone to
         Hurd telephone
62       Photograph - from W.G.’s telephone of marijuana
63       Photograph - from W.G.’s telephone of marijuana
64       Photograph - Samsung telephone seized from J.C.
65       Photograph - Samsung telephone seized from J.C.
66       Photographs - text messages from J.C. telephone
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                                                                 Offered
 No.                 Exhibits Marked for Identification


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100      Photograph - Cadillac Escalade (front)
101      Photograph - Cadillac Escalade (back)
102      Photograph - Blue sports bag with money
103      Photograph - Blue sports bag with towel and marijuana
104      Bank statement tendered by Hurd on 07/28/11
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                                                                                    Refused



                                                                                                         Withdrawn
                                                                                              Reserved
                                                                         Admitted
                                                               Offered
 No.                 Exhibits Marked for Identification


119
120      Lujan factual resume
121      Lujan plea agreement
122      Lujan plea agreement supplement
123      Lujan proffer letter
124
125      Chavful factual resume
126      Chavful plea agreement
127      Chavful plea agreement supplement
128      Chavful proffer letter
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131      Davis plea agreement EDTX
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135      R.G. plea agreement WDTX
136      R.G. plea agreement addendum WDTX
137      R.G. plea agreement EDTX
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                                                                                                 Reserved
                                                                            Admitted
                                                                  Offered
 No.                 Exhibits Marked for Identification


154
155      S.H. and Sam Hurd Chase Bank consolidated records,
         accounts ending 7203, 9543, and 6259
156      M.B. and V.B. Chase Bank records, account ending
         9003
157      M.S. Chase Bank records, account ending 0064
158      S.D.H. Chase Bank records, account ending 9944
159      S.H. and Sam Hurd Frost Bank records, accounts
         ending 4764, 7289, and 0751
160      Hurd currency transaction reports
161      A.G. Citibank records, account ending 6040
162      S.M. Citibank records, account ending 9980
163      Top Notch Fencing Inc. Citibank records, account
         ending 7913
164
165      Citibank Video; 2/10/11 Hurd at branch #192
166      Citibank Video; 7/11/11 Hurd at branch #193
167      Citibank Video; 7/19/11 Hurd at branch #192
168
169      Safehouse Gate Systems: Community Traffic Report
         to/ from Hurd Residence
170
171      American Airlines travel records for July 1-2 and 5-6,
         2011
172      Expedia (Hotels.com) records for Holiday Inn Express
         07/21/11 Albuquerque, NM
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 No.                 Exhibits Marked for Identification


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200      07/28/11 (8:30 p.m.) recorded telephone call between
         M.M. and Lujan
201      Transcript of GX (200)
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203
204      08/15/11 (5:20 p.m.) recorded telephone call between
         M.M. and Lujan
205      Transcript of GX 204
206      08/15/11 (7:07 p.m.) recorded telephone call between
         M.M. and Lujan
207      Transcript of GX 206
208      09/09/11 (7:18 a.m.) recorded telephone call between
         M.M. and Lujan
209      Transcript of GX 208
210      09/09/11 (11:28 a.m.) recorded telephone call between
         M.M. and Lujan
211      Transcript of 210

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                                                                                      Refused



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 No.                 Exhibits Marked for Identification


212
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214
215      09/09/11 (2:00 p.m.) recorded telephone call between
         M.M. and Lujan
216      Transcript of GX 215
217      09/09/11 (4:55 p.m.) recorded telephone call between
         M.M. and Lujan
218      Transcript of GX 217
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225      12/06/11 (2:27 p.m.) recorded telephone call between
         M.M. and Lujan
226      Transcript of GX 225
227      12/06/11 (3:10 p.m.) recorded meeting between M.M.
         and Lujan
228      Transcript of GX 227
229      12/06/11 (8:49 p.m.) recorded telephone call between
         M.M. and Lujan
230      Transcript of GX 229
231      12/07/11 (10:37 a.m.) recorded telephone call between
         M.M. and Lujan
232      Transcript of GX 231
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                                                                                      Refused



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 No.                 Exhibits Marked for Identification


241
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250      11/10/11 (10:01 a.m.) recorded telephone call between
         Confidential Source and Chavful
251      Transcript of GX 250
252      11/10/11 (10:38 a.m.) recorded telephone call between
         Confidential Source and Chavful
253      Transcript of GX 252
254      11/17/11 (3:55 p.m.) recorded telephone call between
         Confidential Source and Chavful
255      Transcript of GX 254
256      12/16/11 recorded telephone call between Confidential
         Source and Chavful
257      Transcript of GX 256
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 No.                Exhibits Marked for Identification


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300      12/08/11 (6:09 p.m.) recorded telephone call between
         M.M. and Hurd
301      Transcript of GX 300
302      12/13/11 (11:31 a.m.) recorded telephone call between
         M.M. and Hurd
303      Transcript of GX 302
304      12/13/11 (10:19 p.m.) Recorded telephone call between
         M.M. and Hurd
305      Transcript of GX 304
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                                                                                         Refused



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                                                                                                   Reserved
                                                                              Admitted
                                                                    Offered
 No.                Exhibits Marked for Identification


306
307
308
309      12/14/11 video undercover meeting with Hurd
310      Enhanced video of GX 309
311      Transcript of GX 310
312      Enhanced video shortened (clips 1-3)
313      Enhanced video shortened (clips 4-6)
314      Enhanced video shortened (clips 7)
315      Transcript of enhanced video shortened
316      Photograph – of Hurd taken from GX 310
317      Photograph – of Hurd with gift bag containing kilogram
         of cocaine from GX 310
318      12/14/11 video recording of Hurd leaving restaurant
         with gift bag containing kilogram of cocaine
319
320
321      Photograph – gift bag inside Cadillac Escalade (taken at
         restaurant)
322      Photograph – front of Cadillac Escalade bearing Texas
         license plate
323      Photograph – gift bag inside Cadillac Escalade
324      Photograph – gift bag inside Cadillac Escalade (close)
325      Photograph – inside gift bag (paper)
326      Photograph – inside gift bag (kilogram of cocaine)
327      Photograph – kilogram of cocaine
328      Photograph – gift bag & kilogram of cocaine
329      Photograph – gift bag, etc. (in evidence bag)
330      Photograph - opened center console of Cadillac
         Escalade
331      Photograph - cash in center console
332      Photograph – black cellular telephone
333      Proof of insurance
334      Photograph – evidence bag containing three cellular
         telephones (front)


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                                                                                       Refused



                                                                                                            Withdrawn
                                                                                                 Reserved
                                                                            Admitted
                                                                  Offered
 No.                Exhibits Marked for Identification


335      Photograph – back of GX 334(showing three cellular
         telephones)
336
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339      Hurd LG cellular telephone (U.S. Cellular)
340      Consent to search LG cellular telephone
341      Extraction data from GX 339
342      Photograph - from LG of marijuana
343      Photograph - from LG of marijuana
344      Photograph - from LG of marijuana
345      Photograph - from LG of marijuana
346      Photograph - from LG of marijuana
347      Photograph - from LG of marijuana
348      Photograph - from LG of marijuana
349      Photograph - from LG of marijuana
350      Photograph - from LG of marijuana
351
352      Telephone records for LG cellular number (708-781-
         8334) (U.S. Cellular)
353      Telephone records for LG cellular number with
         highlights
354
355      Hurd Blackberry Style 9670 cellular telephone (Sprint)
         and telephone card
356      Photograph - from Blackberry telephone card of
         marijuana
357      Photograph - from Blackberry telephone card of
         marijuana
358      Photograph - from Blackberry telephone card of Hurd
359
360      Telephone records for Blackberry Style 9670 cellular
         telephone (210 687 5560)(Sprint)
361      Telephone records for Blackberry Style 9670 cellular
         telephone (210 687 5560) with highlights
362

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                                                                                        Refused



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                                                                   Offered
 No.                Exhibits Marked for Identification


363
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367      Hurd Motorola i170 cellular telephone
368      Consent to search Motorola i170 cellular telephone
369      Extraction data from GX367
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372      12/14/11 post arrest recorded statement (redacted)
373      Transcript of GX 372 (redacted)
374      Kilogram of cocaine
375      DEA lab report # 6C27837 (dated 01/12/12;
         Hopenwasser)
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                                                                                      Refused



                                                                                                           Withdrawn
                                                                                                Reserved
                                                                           Admitted
                                                                 Offered
 No.                Exhibits Marked for Identification


398
399
400      05/20/12 (6:24 p.m.) recorded telephone call between
         R.G. and Chavful
401      Transcript of GX 400
402      05/21/12 (4:24 p.m.) recorded telephone call between
         R.G. and Chavful
403      Transcript of GX 402
404      05/23/12 (1:13 p.m.) recorded meeting between R.G.
         and Chavful
405      Transcript of GX 404
406      05/23/12 (8:00 p.m.) recorded telephone call between
         R.G. and Chavful
407      Transcript of GX 406
408      06/02/12 recorded telephone call between R.G. and
         Chavful
409      Transcript of GX 408
410      06/06/12 (12:05 p.m.) recorded telephone call between
         R.G. and Chavful
411      Transcript of GX 410
412      06/06/12 (3:03 p.m.) recorded telephone call between
         R.G. and Chavful
413      Transcript of GX 412
414      06/06/12 (3:22 p.m.) recorded meeting between R.G.
         and Chavful
415      Transcript of GX 414
416
417      Photograph – green duffle bags
418      Photograph – green duffle bag
419      Photograph – green duffle bag open with drugs
420      Photograph – green duffle bag
421      Photograph – green duffle bag open with drugs
422      Photograph – green duffle bag
423      Photograph – green duffle bag open with drugs
424      Photograph – green duffle bag
425      Photograph – green duffle bag open with drugs

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                                                                                      Refused



                                                                                                           Withdrawn
                                                                                                Reserved
                                                                           Admitted
                                                                 Offered
 No.                Exhibits Marked for Identification


426      Photograph – signed Hurd photograph
427      Photograph – t-shirt with Hurd photograph
428      Photograph – scale
429      Photograph – ziplock bag
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438      06/06/12 video from DPS helicopter
439      Kilogram of cocaine
440      DEA lab report # 6C28208 (dated 10/19/12; Fleming)
441      Marijuana
442      DEA lab report # 6C28209 (dated 06/29/12; Hall)
443      Chavful Samsung cellular telephone (210 300 6385)
         (Cricket/Neustar)
444      Extraction report of SMS and contact list for Samsung
         (210 300 6385)
445      Telephone records for number (210 300 6385)
         (Cricket/Neustar)
446      Telephone records for number (210 300 6385) with
         highlights
447
448      Chavful Model SPH-M260 cellular telephone (210 427
         5309)(Cricket/Neustar)
449      Telephone records for number (210 427 5309)
         (Cricket/Neustar)
450      Telephone records for number (210 427 5309) with
         highlights
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                                                                                        Refused



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                                                                             Admitted
                                                                   Offered
 No.                Exhibits Marked for Identification


455
456
457      Hurd Sprint HTC cellular telephone (210 255
         7960)(Sprint)
458      Subscriber records for Sprint HTC cellular telephone
         (210 255 7960)(Sprint)
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                                         Respectfully submitted,

                                         SARAH R. SALDAÑA
                                         UNITED STATES ATTORNEY

                                          s/ Gary C. Tromblay
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                                         Telephone: 214.659.8638
                                         E-mail: gary.tromblay@usdoj.gov
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                               CERTIFICATE OF SERVICE
       I hereby certify that on March 22, 2013, I electronically filed the foregoing
document with the Clerk of Court for the United States District Court, Northern District of
Texas, using the electronic case filing system of the Court. The electronic case filing
system sent a “Notice of Electronic Filing” to the following attorney(s) of record who have
consented in wring to accept this Notice as service of this document by electronic means:
Michael McCrum and Jay Ethington.

                                         s/ Gary C. Tromblay
                                         GARY C. TROMBLAY
                                         Assistant United States Attorney




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